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                       THE UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                                                                                   ENTERED
                                HOUSTON DIVISION
                                                                                                   03/19/2021

In re:                                         §
                                               §
BRILLANT ENERGY, LLC                           §               Case No. 21-30936
                                               §               (Chapter 7)
                                               §
         Debtor.                               §


              ORDER AUTHORIZING TRUSTEE TO OPERATE BUSINESS

        On March 17, 2021, the Court held a hearing on an Emergency Motion to Convert to
Chapter 11 and Appoint a Chapter 11 Trustee. During the hearing, the chapter 7 trustee
(the “Trustee”), Randy W. Williams, requested that the Court grant emergency relief under 11
U.S.C. § 721 to authorize the Trustee to temporarily operate the Debtor’s business to preserve the
value of property of the estate; after consideration of same and without ruling on any pending
motion(s) and specifically reserving the rights of all parties to revisit the relief granted herein, the
Court finds that notice is proper under the circumstances and that the relief requested is appropriate
and in the best interests of the Debtor’s estate and its creditors. It is therefore,

       ORDERED that the Trustee is authorized to exercise his business judgment and operate the
Debtor’s business in the ordinary course of business until June 30, 2021; and it is further

      ORDERED that the Trustee shall file all necessary financial reporting under the
Bankruptcy Code and Rules relating to the operation of the Debtor’s business; and it is further

       ORDERED that leave is granted for the Trustee to file a motion seeking approval to operate
the Debtor’s business beyond June 30, 2021; and it is further

        ORDERED that the Trustee is authorized (subject to any applicable cash collateral or
financing orders), but not required, to take any and all such actions necessary to operate the
Debtor’s business in the ordinary course, including, but not limited to, the authority to retain
contractors/employees and pay their compensation, pay reasonable and necessary post-petition
obligations incurred in the ordinary course; file, pay and withhold as required tax obligation(s) and
return(s) related to the period during which the business is operated; maintain all insurance
coverage related to the Debtor’s business; retain professionals, following application, and upon
further order of this Court to assist the Trustee with administration and operation of the case; and
insure, maintain and secure the Debtor’s assets to the best of the Trustee’s ability with the assets
and resources available to him; and it is further
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       ORDERED that leave is granted for the Trustee to file a motion or motions seeking
approval of any sale or use of the Debtor’s assets, including but not limited bid procedures and/or
authority to use cash collateral; and it is further

         ORDERED, that to the extent the Trustee, in the exercise of his business judgement,
determines that he lacks sufficient funds and/or resources to prudently operate the Debtor’s
business at any time, the Trustee may cease such operations immediately and as soon as possible
file a pleading in this case giving notice of such decision and providing notice of same to the parties
appearing in this case and as listed in the Debtor’s mailing matrix; and it is further

      ORDERED that approval for the Trustee to operate the Debtor’s business is effective as of
March 16, 2021, the date of filing; and it is further

        ORDERED, that the representatives of the Debtor (including signatories on accounts of the
Debtor) shall assist the Trustee in taking authority and control over all of the Debtor’s assets,
including but not limited to, any and all bank accounts in the name of the Debtor or accounts related
to the Debtor’s business operations; and it is further

        ORDERED, that entry of this Order is without prejudice to the rights of creditors and/or
parties in interest to request modification of the relief granted herein by the filing and service of
appropriate pleadings and further order of this Court, including but not limited to, seeking
emergency relief with respect to same.


        Signed this ____ day of _________________________, 2021.
      Signed: March 19, 2021.

                                                     ____________________________________
                                                       ___________________________________
                                                     DAVID   R. JONES
                                                       David R.
                                                     UNITED      Jones BANKRUPTCY JUDGE
                                                              STATES
                                                       Chief United States Bankruptcy Judge

Approved as to form:

        By:    /s/ Randy W. Williams
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        Chapter 7 Trustee
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